                           Case 1:17-cv-11008-MLW Document 1-2 Filed 05/31/17 Page 1 of 1

JS 44 (Rev. 08116)                                                       CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                       DEFENDANTS
                                                                                                       CELLTRION HEALTHCARE CO., LTD., CELLTRION, INC., and
 JANSSEN BIOTECH, INC.                                                                                 HOSPIRA, INC.

    (b)   County of Residence ofFirst Listed Plaintiff          Montgomery       County, PA              County of Residence of First Listed Defendant  Middlesex County,                 MA
                                (EXCEPT IN US. PLAINTIFF CASES)                                                                (IN US. PLAINTIIT CASES ONLY)
                                                                                                         NOTE: IN LAND CONDEMNATION CASES,USE THE LOCATION OF
                                                                                                                 THE TRACT OF LAND INVOLVED.


    (C) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (IfKnown)
 Alison C. Casey, Nutter McClennen & Fish, LLP, 155 Seaport Blvd.,
 Boston, MA 02210(617)439-2000


II. BASIS OF JURISDICTION (Place an "X"in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an "X" in One Boxfor Plaintiff
                                                                                                     (For Diversity Cayes Only)                                      and One Boxfor Defendant)
0 I    U.S. Government                   3   Federal Question                                                                 PTF       DEF                                        PTF      DEF
          Plaintiff                           (U ,S Government Not a Party)                     Citizen of This State         O 1       0 1     Incorporated or Principal Place     0 4 04
                                                                                                                                                  of Business In This State

02     U.S. Government                0 4 Diversity                                             Citizen of Another State          0 2   0 2     Incorporated and Principal Place   0 5     05
          Defendant                         (Indicate Citizenship ofParties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a           0 3   0 3     Foreign Nation                     0 6     06
                                                                                                  Foreign Country
IV. NATURE OF SUIT                    Place (1)7 "X"in One Box Onl                                                                   Click here for:                     (7,
          CONTRACT                                            'FORTS                              FORFEITURE/PENALTY                       BANKRUPTCY                    OTHER STATUTES             I
0   110 Insurance                      PERSONAL INJURY                 PERSONAL INJURY         El 625 Drug Related Seizure          0 422 Appeal 28 USC 158        0 375 False Claims Act
0   120 Marine                       O 310 Airplane                 0 365 Personal Injury -           of Property 21 USC 881        O 423 Withdrawal               0 376 Qui Tam (31 USC
0   130 Miller Act                   0 315 Airplane Product                Product Liability   0 690 Other                                28 USC 157                      3729(a))
0   140 Negotiable Inshutnent               Liability               0 367 Health Care/                                                                             0 400 State Reapportionment
0   150 Recovery of Overpayment      0 320 Assault, Libel &               Pharmaceutical                                              PROPERTY RIGHTS              0 410 Antitrust
        & Enforcement of Judgment           Slander                       Personal Injury                                           0 820 Copyrights               0 430 Banks and Banking
0   151 Medicare Act                 0 330 Federal Employers'             Product Liability                                         K 830 Patent                   O 450 Commerce
0   152 Recovery of Defaulted               Liability               0 368 Asbestos Personal                                         0 840 Trademark                O 460 Deportation
        Student Loans                0 340 Marine                          Injur), Product                                                                         0 470 Racketeer Influenced and
       (Excludes Veterans)           0 345 Marine Product                  Liability                       LABOR                      SOCIAL SECURITY                    Corrupt Organizations
0   153 Recover), of Overpayment            Liability                 PERSONAL PROPERTY        0 710 Fair Labor Standards           O 861 HIA (1395ff)             O 480 Consumer Credit
        of Veteran's Benefits        0 350 Motor Vehicle            O 370 Other Fraud                 Act                           O 862 Black Lung(923)          O 490 Cable/Sat TV
0   160 Stockholders' Suits          0 355 Motor Vehicle            0 371 Truth in Lending     0 720 Labor/Management               O 863 DIWC/DIWW (405(g))       0 850 Securities/Commodities/
0   190 Other Contract                     Product Liability        CI 380 Other Personal             Relations                     O 864 SSID Title XVI                  Exchange
0   195 Contract Product Liability   0 360 Other Personal                 Property Damage      0 740 Railway Labor Act              0 865 RSI(405(g))              0 890 Other Statutory Actions
0   196 Franchise                          Injury                   0 385 Property Damage      0 751 Family and Medical                                            0 891 Agricultural Acts
                                     0 362 Personal Injury -              Product Liability           Leave Act                                                    0 893 Environmental Matters
                                           Medical Malpractice                                 0 790 Other Labor Litigation                                        0 895 Freedom ofInfonnation
       REAL PROPERTY                     CIVIL RIGHTS               PRISONER PETITIONS         0 791 Employee Retirement              FEDERAL TAX SUITS                   Act
I
0 210 Land Condemnation              0 440 Other Civil Rights         Habeas Corpus:                 Income Security Act            0 870 Taxes(U.S. Plaintiff     O 896 Arbitration
0 220 Foreclosure                    0 441 Voting                   0 463 Alien Detainee                                                  or Defendant)            0 899 Administrative Procedure
 O 230 Rent Lease & Ejectment        0 442 Employment               0 510 Motions to Vacate                                         0 871 IRS—Third Party                Act/Review or Appeal of
0 240 Torts to Land                  0 443 Housing/                       Sentence                                                        26 USC 7609                    Agency Decision
 O 245 Tort Product Liability              Accommodations           O 530 General                                                                                  O 950 Constitutionality of
0 290 All Other Real Property        0 445 Amer. w/Disabilities -   0 535 Death Penalty              IMMIGRATION                                                         State Statutes
                                           Employment                 Other:                   O 462 Naturalization Application
                                     0 446 Amer. w/Disabilities -   O 540 Mandamus & Other     0 465 Other Immigration
                                           Other                    0 550 Civil Rights               Actions
                                     0 448 Education                0 555 Prison Condition
                                                                    0 560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement

V. ORIGIN (Place an "X" it           One Box Only)
X1     Original          O 2 Removed from               0 3         Remanded from          0 4 Reinstated or      0 5 Transferred from          0 6 Multidistrict            0 8 Multidistrict
       Proceeding            State Court                            Appellate Court            Reopened               Another District              Litigation -                 Litigation -
                                                                                                                      (specify)                     Transfer                     Direct File
                                         Cite the U.S. Civil Statute under which you are filing(Do not citejurisdictional statutes unless diversity):
                                          35 U.S.C. s 271; 28 U.S.C. Sec. 1331, 1338
VI. CAUSE OF ACTION                      Brief description of cause:
                      Patent infringement
VII. REQUESTED IN   0 CHECK IF THIS IS A CLASS ACTION          DEMAND $ CHECK YES only if demanded in complaint:

     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                       JURY DEMAND:         X Yes     O No

VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE Hon. Mark L. WolfDOCKET NUMBER 15-cv-10698; 16-cv-11117
DATE                                                                   SIGNANRE OF ATTORNEY OF RECORD
05/31/2017
FOR OFFICE USE ONLY

    RECEIPT #                   AMOUNT                                    APPLYING IFP                                    JUDGE                         MAG.JUDGE
